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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 22-MC-20707-JEM/BECERRA

  In re: Application Pursuant to
  28 U.S.C.§ 1782 of

  FARHAD AZIMA
  5921 Ward Parkway
  Kansas City, Missouri 64113,

           Petitioner,

  v.

  INSIGHT ANALYSIS AND RESEARCH, LLC
  13727 SW 152 Street, #715
  Miami, Florida 33177,

  SDC-GADOT, LLC
  3200 Collins Avenue, Suite L2
  Miami Beach, Florida 33140,

  and

  AMIT FORLIT
  5-A Habarzel Street
  Tel Aviv, Israel 6971002 IL,

           Respondents.
  __________________________________________/

              PARTIES’ NOTICE OF COMPLIANCE AND STATUS UPDATE

         Per the Court’s request, on July 29, 2022, the parties met and conferred to discuss (a) the

  status of motions filed, (b) updates to provide to the Court, and (c) a mutually-agreed upon date

  and time for a hearing on outstanding matters. The parties’ status update and positions regarding

  those matters are outlined below.




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     I.          Update on this matter

           In an ongoing effort to amicably resolve issues between them, the parties agreed to proceed

  with Rule 30(b)(6) depositions of Respondents Insight and Gadot on July 20 and 21, 2022 in Tel

  Aviv, Israel. The corporate representative deposed, for both entities, was Amit Forlit. Mr. Forlit

  brought twenty-six pages of invoices with him to the deposition, which had not been previously

  produced. At the depositions, Respondents renewed their objections to certain questions as being

  “beyond the scope” of the initial subpoenas issued, and Mr. Forlit did not answer certain questions

  that he deemed dealt with him personally. On several issues, Mr. Forlit was unprepared to respond

  substantively and, subject to the outcome of our ongoing discussions with Respondents’ counsel,

  Petitioner may file a motion to compel additional depositions.

     II.         Outstanding matters

           The parties submit that the following pleadings remain outstanding and are before the Court

  for resolution:

            a.      Petitioner’s amended application for discovery of Mr. Forlit, in his personal

   capacity – D.E.s 23 and 24 (with related briefing at D.E.s 31 and 33). The parties have yet to

   resolve this issue, as Mr. Forlit maintains that the Court lacks personal jurisdiction over

   him. Counsel for Mr. Forlit advised that Mr. Forlit intends to supplement his pleading filed,

   based upon the depositions of Insight and Gadot.

            b.      Petitioner’s motion for sanctions and to compel discovery – D.E. 32 (related filings

   and/or briefing at D.E.s 27, 28, 39 and 40). The parties have yet to resolve these issues. Petitioner

   maintains that Respondents must produce meaningful discovery, particularly since Mr. Forlit

   brought documents with him to the depositions of Insight and Gadot, after proffering to the court

   that no such responsive materials existed. Respondents claim that they have fulfilled their



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   discovery obligations in D.E.s 27 and 28 (as to the documents produced) and by submitting to

   depositions already, rendering D.E. 32 moot. Petitioner maintains that there are outstanding

   responsive documents and that Respondents Insight and Gadot should submit to a second

   deposition on issues not fully covered. Respondents’ counsel state that they will conduct a

   further search to ensure that no additional documents are in their custody, control and/or care.

             c.      Respondents’ objections at D.E. 34 (and opposition thereto at D.E. 36). To the

   extent the Respondents’ objections involve matters handled by this Court (which were not

   previously referred to your Honor), the parties submit that D.E. 42 renders those objections

   moot. However, still outstanding for the Court’s review is the scope of the Petitioner’s Rule

   30(b)(6) depositions notices and discovery requests. Respondents submit that the scope exceeds

   the Court’s original ruling and that Respondents Insight and Gadot do not have to provide

   discovery on these additional topics or areas.

     III.         Proposed hearing date and time

            The parties propose that the Court hear oral arguments on the above issues on August 11,

  2022 at 1:00 p.m. EST.



                                                 Respectfully submitted,

  Dated: June 17, 2022                           s/ Vanessa Singh Johannes
                                                 Vanessa Singh Johannes (FBN 1028744)
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                                                 Counsel for Petitioner




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 17, 2022, a true and correct copy of the foregoing document

  was filed via CM/ECF and served on counsel for the Respondents named in this matter,

  Christopher S. Salivar and Elan I. Baret, via such means.



                                                       s/ Vanessa Singh Johannes
                                                        Vanessa S. Johannes




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